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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. STEPHEN ALEXANDER VADEN, JUDGE
________________________________________________
COZY COMFORT COMPANY, LLC,                       :
                                                 :
                        Plaintiff,               :
                                                 :                 Court No. 22-00173
                  v.                             :
                                                 :
UNITED STATES,                                   :
                                                 :
                        Defendant.               :

                                           ANSWER

       Pursuant to Rule 7(a) of the Rules of the United States Court of International Trade,

defendant, the United States, responds to the allegations of plaintiff’s, Cozy Comfort Company,

LLC, complaint as follows:

                                       JURISDICTION1

1.     The allegations in this paragraph consist of legal argument and/or conclusions of law to
       which no response is required.

2.     Admits that, on May 20, 2022, plaintiff filed Protest No. 2704-22-160430 at the Port of
       Los Angeles, contesting U.S. Customs and Border Protection’s (CBP) classification of
       the Comfy® as a pullover under subheading 6110.30.30 of the Harmonized Tariff
       Schedule of the United States (HTSUS). Denies any inference that the legal
       classification includes the 9th and 10th digits and avers that the 9th and 10th digits of
       HTSUS provisions (and accompanying text, if any) comprise the statistical suffix to the
       provision and are not statutory. The remaining allegations in this paragraph consist of
       legal argument and/or conclusions of law to which no response is required. To the extent
       they may be considered allegations of fact, admits.

3.     Admits.

4.     Admits.



1
 For ease of reference, we have included the headings and subheadings used by plaintiff in its
complaint. However, because they do not constitute allegations, no response is required.
Further, no inference should be made that defendant agrees with any characterization in such
headings and subheadings.
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5.    Admits.

6.    The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required.

                                          PARTIES

7.    Admits that plaintiff is the importer of record for the subject merchandise. Denies the
      remaining allegations in this paragraph for lack of information or knowledge sufficient to
      form a belief as to the truthfulness of the allegations.

8.    Admits.

                                         STANDING

9.    The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required.

10.   The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required.

                                FACTUAL BACKGROUND

11.   Admits.

12.   Admits to the extent supported by the cited Informed Compliance Publication and the
      relevant statutes, but otherwise denies.

13.   The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required. To the extent they may be considered allegations of fact,
      denies.

14.   The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required. To the extent a response is required, admits to the extent
      support by judicial precedent, otherwise denies.

15.   Admits.

16.   Admits.

17.   The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required. To the extent they may be considered allegations of fact,
      denies.

18.   Denies for lack of information or knowledge sufficient to form a belief as to the
      truthfulness of the allegations.

19.   Denies for lack of information or knowledge sufficient to form a belief as to the
      truthfulness of the allegations.

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20.   Admits that plaintiff has previously imported the Comfy® and entered the merchandise
      under HTSUS 6301.40.0020, but denies that the merchandise in this case was entered
      under HTSUS 6301.40.0020. Further denies any inference that the legal classification
      includes the 9th and 10th digits and avers that the 9th and 10th digits of HTSUS provisions
      (and accompanying text, if any) comprise the statistical suffix to the provision and are not
      statutory.

21.   Admits that on or about March 20, 2020, CBP issued a notice that several entries of the
      Comfy® would be rate advanced with the merchandise classified under subheading
      6110.30.3059, HTSUS, but denies that the notice included the entry in this case. The
      remaining allegations in this paragraph consist of legal argument or conclusions of law to
      which no response is required. To the extent they may be considered allegations of fact,
      denies.

22.   Admits that plaintiff classified the merchandise in this case under subheading 6110.30.30,
      HTSUS. Denies the remaining allegations in this paragraph for lack of information or
      knowledge sufficient to form a belief as to the truthfulness of the allegations. Further
      denies any inference that the legal classification includes the 9th and 10th digits and avers
      that the 9th and 10th digits of HTSUS provisions (and accompanying text, if any)
      comprise the statistical suffix to the provision and are not statutory.

23.   Admits that plaintiff filed Protest No. 2704-22-160430 on May 20, 2022. The remaining
      allegations in this paragraph consist of legal argument and/or conclusions of law to which
      no response is required.

24.   Admits.

                                           COUNT I

                         (Incorrect Classification Decision – Blanket)

25.   Defendant incorporates its responses to paragraphs 1 through 24 as if fully set forth
      herein.

26.   The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required. To the extent they may be considered allegations of fact,
      denies.

27.   The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required. To the extent they may be considered allegations of fact,
      denies.

                                          COUNT II

                         (Incorrect Classification Decision – Textile)



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28.   Defendant incorporates its responses to paragraphs 1 through 24 as if fully set forth
      herein.

29.   The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required. To the extent they may be considered allegations of fact,
      denies.

30.   The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required. To the extent they may be considered allegations of fact,
      denies.

31.   The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required. To the extent they may be considered allegations of fact,
      denies.

32.   The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required. To the extent they may be considered allegations of fact,
      denies.

                                         COUNT III

                        (Incorrect Classification Decision – Garment)

33.   Defendant incorporates its responses to paragraphs 1 through 24 as if fully set forth
      herein.

34.   The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required. To the extent they may be considered allegations of fact,
      denies.

35.   The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required. To the extent they may be considered allegations of fact,
      denies.

36.   The allegations in this paragraph consist of legal argument and/or conclusions of law to
      which no response is required. To the extent they may be considered allegations of fact,
      denies.

                                           RELIEF

37.   This paragraph consists of plaintiff’s request for entry of judgment to which no response
      is required. To the extent a response is required, denies that plaintiff is entitled to the
      requested relief.




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       WHEREFORE, defendant respectfully requests that judgment be entered dismissing this

action, sustaining the decision of the appropriate CBP officials and the assessment of duty

thereunder, and granting defendant such other and further relief as may be just and appropriate.

                                                    Respectfully submitted,

                                                    BRIAN M. BOYNTON
                                                    Principal Deputy Assistant Attorney General

                                                    PATRICIA M. McCARTHY
                                                    Director

                                                    JUSTIN R. MILLER
                                                    Attorney-In-Charge
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                                             By:    /s/ Aimee Lee
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                                                    /s/ Brandon A. Kennedy
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Dated: August 23, 2022                              Attorneys for Defendant




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